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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


     ARNOLD R. DORMER, JR.,                                        Case No. 11-27934-PJD

            Debtor                                                 Chapter 11


 MOTION TO DETERMINE LOAN BALANCES OWED BY REORGANIZED DEBTOR
 TO BSI FINANCIAL SERVICES, AS ASSIGNEE OF J.P. MORGAN CHASE AND EMC



        Comes now Arnold R. Dormer, Jr., the Reorganized Dormer (“Dormer”), by counsel, and

moves the Court, pursuant to the terms of the Confirmed Plan of Reorganization, to determine

proper balances owed by Dormer to BSI Financial Services (“BSI”), as assignee of J.P. Morgan

Chase and EMC, and in support of his Motion, would show the Court as follows:

                                              FACTS

       1.      This Chapter 11 case was filed on August 5, 2011.

       2.      On January 27, 2012, Dormer filed his Second Amended Plan of Reorganization

(the “Plan”). J. P. Morgan Chase and EMC were listed as creditors under Classes 69 and 114 of

the Plan.

       3.      No objections were filed with regard to the Plan treatment of Classes 69 and 114

       4.      On August 30, 2012, the Court entered its Order Confirming Plan [D.E. 652].

       5.      Pursuant to the terms of the confirmed Plan, J. P. Morgan Chase and EMC were

listed as creditors holding first priority deeds of trust on two parcels of real property. 4453 Cedar

Bark Cove was treated under Class 69 of the Plan. 5994 Wagon Hill Road was treated under Class

114 of the Plan.


       6.      The effective date of the Plan was October 15, 2012.
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         7.      Pursuant to the terms of the Plan, Dormer has been making the modified mortgage

  payments commencing with the October 1, 2012 payment, and he is current with all payments due

  under the Plan.

         8.      BSI has failed to provide correct statements in spite of repeated communications

  requesting that BSI recognize the effect of the confirmed Plan and adjust its records accordingly.

  Recent statements issued by BSI incorrectly show that Dormer is past due, when he is not.

         WHEREFORE, Dormer prays that the Court compel BSI to provide correct statements

  regarding the current status of payments and balances, make a determination that all payments due

  under the Plan are current, and for such other relief to which he may be entitled.



                                             Respectfully submitted,

                                             BEARD & SAVORY, PLLC

                                             /s/ Russell W. Savory

                                             Russell W. Savory (12786)
                                             Attorney for Arnold R. Dormer, Jr.
                                             119 South Main Street, Suite 500
                                             Memphis, TN 38103
                                             901-523-1110



                                     CERTIFICATE OF SERVICE

       I, Russell W. Savory, do hereby certify that a true and genuine copy of the foregoing pleading

has been served on following parties by electronic notice or U.S. Mail, this 3rd day of October, 2018:

BSI Financial Services
1425 Greenway Drive
Suite 400
Irving, TX 75038
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                                 /s/ Russell W. Savory
                                 ____________________________________
                                 Russell W. Savory
